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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )         4:05CR3019
                                         )
                   Plaintiff,            )
                                         )
      vs.                                )
                                         )         ORDER
TERESA MARIE JONES,                      )
                                         )
                   Defendant.            )

      IT IS ORDERED that:

       (1) The defendant’s unopposed motion to continue sentencing date (filing
141) is granted;

       (2) Defendant Jones’ sentencing is continued to Friday, April 14, 2006, at
12:30 p.m., before the undersigned United States District Judge, in Courtroom No. 1,
Robert V. Denney Federal Building and United States Courthouse, Lincoln, Nebraska.
Since this is a criminal case, the defendant shall be present unless excused by the
court.

      February 13, 2006.                     BY THE COURT:

                                             s/ Richard G. Kopf
                                             United States District Judge
